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 8              IN THE UNITED STATES DISTRICT COURT FOR THE

 9                      EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,        )    1:10-CR-00305 OWW
                                      )
12                   Plaintiff,       )    PRELIMINARY ORDER OF FORFEITURE
                                      )
13        v.                          )
                                      )
14   MARCO ANTONIO LOPEZ-FLOREZ,      )
     ERNESTO ROCHA,                   )
15                                    )
                     Defendants.      )
16                                    )

17        Based upon the plea agreement entered into between plaintiff

18   United States of America and defendants Marco Antonio Lopez-Florez

19   and Ernesto Rocha and Marco Antonio Lopez-Florez’ orally amended

20   written plea agreement to include his agreement to forfeit his

21   right, title, and interest in the below-described property, it is

22   hereby

23        ORDERED, ADJUDGED, AND DECREED as follows:

24        1.   Pursuant to 21 U.S.C. § 853, defendants Marco Antonio

25   Lopez-Florez and Ernesto Rocha’s interest in the following property

26   shall be condemned and forfeited to the United States of America, to

27   be disposed of according to law:

28             a.    One 9mm Ruger firearm,

                                          1              Preliminary Order of Forfeiture
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 1                b.        One Ruger Speed Six .357 magnum handgun with a
                            loaded magazine, and
 2
                  c.        One Remington scoped rifle.
 3

 4         2.     The above-listed assets constitute, or are derived from,

 5   proceeds obtained, directly or indirectly, or were used, or intended

 6   to be used, in any manner or part, to commit, or to facilitate the

 7   commission of a violation of 21 U.S.C. §§ 846 and 841(a)(1).

 8         3.     Pursuant to Rule 32.2(b), the Attorney General (or a

 9   designee) shall be authorized to seize the above-listed property.

10   The   aforementioned        property      shall   be    seized   and    held    by    the

11   Department        of     Homeland    Security,         Immigration      and     Customs

12   Enforcement/Customs and Border Protection in their secure custody

13   and control.

14         4.   a.     Pursuant to 21 U.S.C. § 853(n) and Local Rule 171, the

15   United States shall publish notice of the order of forfeiture.

16   Notice of this Order and notice of the Attorney General’s (or a

17   designee’s) intent to dispose of the property in such manner as the

18   Attorney   General        may    direct   shall   be    posted   for    at    least    30

19   consecutive days on the official internet government forfeiture site

20   www.forfeiture.gov.             The United States may also, to the extent

21   practicable, provide direct written notice to any person known to

22   have alleged an interest in the property that is the subject of the

23   order of forfeiture as a substitute for published notice as to those

24   persons so notified.

25                b.    This notice shall state that any person, other than

26   the defendant, asserting a legal interest in the above-listed

27   property, must file a petition with the Court within sixty (60) days

28   from the first day of publication of the Notice of Forfeiture posted

                                                 2               Preliminary Order of Forfeiture
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 1   on the official government forfeiture site, or within thirty (30)

 2   days from receipt of direct written notice, whichever is earlier.

 3         5.    If a petition is timely filed, upon adjudication of all

 4   third-party interests, if any, this Court will enter a Final Order

 5   of Forfeiture pursuant to 21 U.S.C. § 853, in which all interests

 6   will be addressed.

 7         IT IS SO ORDERED.

 8   Dated: April 8, 2011                   /s/ Oliver W. Wanger
     emm0d6                            UNITED STATES DISTRICT JUDGE
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